     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 1 of 12




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

KHOLKAR VISHVESHWAR GANPAT,
                                                    Civil Action No. 18-13556 “E” (4)
       Plaintiff,
                                                    IN ADMIRALTY
v.
                                                    JUDGE SUSIE MORGAN
EASTERN PACIFIC SHIPPING PTE, LTD.,
d/b/a “EASTERN PACIFIC”                             CHIEF MAGISTRATE JUDGE
                                                    KAREN WELLS ROBY
       Defendant.


                       EASTERN PACIFIC’S RESPONSE OPPOSING
                         PLAINTIFF’S MOTION FOR ISSUANCE
                            OF PERMANENT INJUNCTION

       This Court now should deny plaintiff’s Motion for Issuance of Permanent Injunction1.

       Plaintiff Kholkar Vishveshwar Ganpat wrongly contends that there are no factual

disputes. He makes the wrong assumption that he will “prevail on the merits” “vis a vis issuance

of a permanent injunction.”

       Eastern Pacific has never “conceded that the US Court and Indian Court proceedings are

‘on the same cause of action’ ….” EPS India and Eastern Pacific are both plaintiffs in the South



1
      Eastern Pacific incorporates the arguments in its Motion to Dismiss Forum Non
Conveniens [ECF 204] and the Affidavits of Aditya Krishnamurthy, Esq. Exhibit A to ECF 203
[ECF 203-2] (Eastern Pacific Motion to Dismiss, India Law Choice), Exhibit B to ECF 204
[ECF 204-3] (Eastern Pacific Motion to Dismiss, Forum Non Conveniens)(herein,
“Krishnamurthy Aff.”), and Anil Arjun Singh [Exhibit A, ECF 204-2], and its Motion to
Dismiss—India Law [ECF 203], and the exhibits thereto.

       Eastern Pacific notes that this is Mr. Kholkar Vishveshwar Ganpat’s second attempt at a
permanent injunction; his first was ECF 166, July 28, 2020. This Court, after a telephone status
conference July 29, 2020, entered its Minute Order including that “The submission date of the
Motion for Permanent Injunction is continued without a date. The Court will inform the parties
when an opposition is due, if necessary.” ECF 170. This Court did not require opposition to
ECF 166.

                                              -1-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 2 of 12




Goa, India litigation, Eastern Pacific is the sole defendant here.2 Mr. Kholkar Vishveshwar

Ganpat also attempts, without merit, to argue that Eastern Pacific has “invoked albeit reluctantly,

that very jurisdiction.” ECF 199-1 at 16.     Eastern Pacific’s motions to dismiss on forum non

conveniens grounds, and applying Indian law – and Eastern Pacific’s replies supporting them –

further confirm that that Eastern Pacific never has “invoked the jurisdiction” of this Court.

       Eastern Pacific’s decision not to move to dismiss on personal jurisdiction or venue

grounds has nothing to do with the fact that this District is neither a proper nor convenient forum

for this litigation. Indeed, it is not, nor has Mr. Kholkar Vishveshwar Ganpat stated a claim upon

which this Court may grant relief under the controlling India law.

       Mr. Kholkar Vishveshwar Ganpat cannot show that he is likely to succeed on the merits

of his case and this Court therefore for this reason alone, should deny his motion.

                                  FACTUAL BACKGROUND

       A. The Litigation in South Goa, India

       On March 2, 2020, Eastern Pacific India and Eastern Pacific filed suit before the District

Court, South Goa at Margao where it was registered as Commercial Suit No. 2 of 2020 and

thereafter transferred to Court of First Additional Senior Civil Judge, South Goa at Margao

wherein the proceedings had been re-registered as Special Civil Suit (Commercial) No.33/2020/I


2
         While plaintiff has failed to carry his burden and demonstrate success on the merits or
likelihood of success on the merits for either a permanent or preliminary injunction, if this Court
is inclined to grant either request, prior to doing so, it should order discovery regarding the
disputed facts—namely whether there were adequate anti-malarials aboard the M/V STARGATE
in Savannah and whether plaintiff was indeed provided with such anti-malarials as indicated in
the documents in this Court’s Record. See e.g., ECF 213-4 at pp. 63, 67, 76-77; 213-5 at p. 1-2;
ECF 213-4, p. 76-77. Eastern Pacific incorporates its letter to the Court concerning discovery on
the injunction motion and permanent injunction request, August 30, 2021, emailed directly to
Chambers; Eastern Pacific will at the Court’s request file the letter in the case record.

       Furthermore, should this Court be inclined to grant plaintiff’s motion, Eastern Pacific
requests that security be posted under Fed. R. Civ. P. 65(c).


                                                -2-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 3 of 12




and thereafter transferred to the Court of Senior Civil Judge– III, South Goa at Margao where it

has been re-numbered as Special Civil Suit No. 64/2020/III, CNR No. GASG02-003269-2020

(the “South Goa Suit”). Krishnamurthy Aff. ¶2; South Goa Court Complaint, ECF 142-2, ECF

204-4.

         The South Goa Court, on March 7, 2020, in response to the Eastern Pacific India and

Eastern Pacific Complaint, issued its Order for preliminary injunction against plaintiff

proceeding in this Court (ECF 142-1), finding in pertinent part as follows:

         15. The defendant resides in Canacona, Goa and thus amenable to the jurisdiction
         of this Court. The plaintiffs have prima facie shown that if they are made to
         defend the US proceedings, they would have to incur huge expenditure and the
         costs might not be recoverable on account of the condition of the defendant.

         16. The plaintiff has prima facie shown that the Court in Goa is a forum
         conveniens for both the parties and more particularly, the defendant who resides
         in Goa and who on account of his health condition would have great difficulties in
         travelling to USA to prosecute the US proceedings. Further, the witnesses are also
         in Goa. Trial and adjudication of the claim for damages in India would be
         convenient to both the parties and more particularly, in Goa where the defendant
         resides.

         17. The plaintiff has also placed on record the copy of the Order dated 17.01.2020
         passed by the United States District Court, Eastern District of Louisiana in the US
         Proceedings whereby the defendant herein has been granted time to serve the
         plaintiffs in the said US Proceedings till 17.03.2020. The plaintiffs apprehend that
         they might be served in the US Proceedings at any time prior to 17.03.2020 and
         that if they are made to defend the US Proceedings, they will incur huge costs to
         defend the claim and thus great inconvenience will be caused to the plaintiffs. The
         plaintiffs have also shown that the costs of defending the US proceedings might
         not be recoverable and thus, the plaintiffs have shown that irreparable loss would
         be caused to them if the urgent relief as sought by them is not granted.

         18. No prejudice or injustice will be caused to the defendant if anti-suit injunction
         in temporary form is granted as the defendant can pursue his claim for damages
         against the plaintiffs by filing proceedings in Goa or file a counter claim in the
         instant suit itself.

         19. In the Order dated 17.01.2020, the United States District Court has observed
         that the plaintiff in the said proceedings (the defendant herein) has failed to
         produce evidence that Eastern Pacific transacted business in Louisiana and also



                                                 -3-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 4 of 12




       failed to provide evidence establishing that Eastern Pacific has engaged in
       business activity in Louisiana. The Ld. United States District Judge has further
       observed that the plaintiff’s (the defendant herein) alleged injuries could not have
       resulted from Eastern Pacific’s business activities in Louisiana and to the
       contrary, the plaintiff alleges his injuries resulted from Eastern Pacific’s activities
       well outside of Louisiana. The Order also makes a mention that the defendant
       herein was hospitalized for malaria in Rio de Janeiro and was subsequently,
       repatriated to India. Thus, the aforesaid observations of the Ld. United States
       District Judge also help the plaintiffs’ case in seeking anti-suit injunction.

       20. The plaintiffs have relied upon the letter dated 24.02.2020 addressed to the
       defendant which indicates that in consideration of the defendant discontinuing the
       US Proceedings and prosecuting the alleged permanent disability claim before the
       competent Court in Goa, India, the North of England P & I Association Limited,
       on behalf of the assured, agrees and undertakes to pay within 15 days of the
       defendant’s written demand, such sums as may be adjudged or declared in any
       final decree of the competent Court in Goa provided that the total liability shall
       not exceed the sum of USD 82,500. Thus, the plaintiffs have secured the amount
       which they might be liable to pay to the defendant. This factor also shows that no
       prejudice will be caused to the defendant if he is restrained from prosecuting the
       US Proceedings.

       21. The plaintiffs have thus shown that the defendant is amenable to the personal
       jurisdiction of this Court and that if the exparte interim relief is refused, the ends
       of justice will be defeated. Thus, the principles discussed in the aforesaid two
       decisions of the Hon’ble Apex Court are attracted in the instant case. The object
       of granting injunction would be defeated by delay.

       22. Prima facie, it appears that if the plaintiffs are subjected to the US
       proceedings, the plaintiffs will suffer loss as they will have to incur heavy
       expenditure. The US proceedings are ex-facie vexatious and oppressive. In case
       of any neglect by the plaintiffs, the defendant can establish his claim in Goa.

       23. The plaintiffs have made out a case for the grant of exparte urgent interim
       relief in the form of anti-suit injunction.

       Instead of attempting to appeal or otherwise permissibly oppose the South Goa Court’s

Order, Mr. Kholkar Vishveshwar Ganpat then for about a year violated the injunction, in

contempt of the South Goa Court’s orders. On March 13, 2021 the South Goa Court

consequently held him in contempt and jailed him briefly. Krishnamurthy Aff., ¶20. Within 24

hours of Mr. Kholkar Vishveshwar Ganpat being sent to judicial custody the South Goa Court




                                                -4-
      Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 5 of 12




displayed a lenient approach towards Mr. Kholkar Vishveshwar Ganpat and immediately

released him from judicial custody. In fact, the South Goa judge during the hearing on 13th

March 2021 made a statement in open court that she was extremely pleased that Mr. Kholkar

Vishveshwar Ganpat would now be receiving erudite advice on his rights and obligations on

Indian law by Mr. Harshad Arsekar, a senior lawyer in the South Goa bar. 3

        In these circumstances, Mr. Kholkar Vishveshwar Ganpat will not, being represented and

now responding to the South Goa Court’s orders (and no longer in contempt of them), be sent to

jail again. Id. at ¶ 21.

        Mr. Harshad Arsekar, a very senior lawyer in the South Goa Bar, became counsel to Mr.

Kholkar Vishveshwar Ganpat and has continued to represent him over the last five or so months,

most recently at an August 16, 2021 hearing before the South Goa Court. Mr. Harshad Arsekar

requested, and the South Goa Court granted his request to submit an opposition to the South Goa

Court to the preliminary injunction, and Eastern Pacific’s and Eastern Pacific India’s pending

permanent injunction motion, with a further hearing before the South Goa Court set for

tomorrow, October 8, 2021.4 Mr. Arsekar, as an amply qualified and experienced Indian lawyer,

having now appeared multiple times before the South Goa Court representing Mr. Kholkar


3
        Mr. Harshad Arsekar, https://www.linkedin.com/in/harshad-arsekar-
2b590a32/?originalSubdomain=in continues to represent Mr. Kholkar Vishveshwar Ganpat
before the South Goa Courts. Mr. Arsekar’s most recent (September 28th), extensive filings for
Mr. Kholkar Vishveshwar Ganpat, including, an affidavit from Mr. Kholkar Vishveshwar
Ganpat responding to the substantive allegations of Eastern Pacific’s Goa complaint, are
Exhibits A (Reply to Eastern’ Pacific’s complaint), B (Written Statement/Affidavit) and C (list
of documents submitted to the Goa Court) to Eastern Pacific’s Reply supporting its forum non
conveniens motion to dismiss [ECF 216]
4
         The next proceeding before the Goa Court is this Friday, October 8, 2021, where the
Court is to hear further argument on the various filings, including by Mr. Arsekar. As Eastern
Pacific has noted to this Court, free access to the current docket in the Goa Court is at
https://services.ecourts.gov.in/ecourtindia_v6/main.php , entering CNR Number
GASG020032692020 .


                                              -5-
      Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 6 of 12




Vishveshwar Ganpat, has shown himself fully capable of presenting the claims that Mr. Kholkar

Vishveshwar Ganpat has for injury in the South Goa Suit. Id.

         In fact, in his most recent September 28, 2021 filings with the South Goa Court, assisted

by his counsel Mr. Arsekar, Mr. Kholkar Vishveshwar Ganpat has put central questions of his

case at issue (Exhibit B to ECF 216, Mr. Kholkar Vishveshwar Ganpat’s written statement under

oath responding to the Eastern Pacific and EPA India South Goa complaint) – see in particular,

paragraphs 16, 22, 23 and 24 of Exhibit B to ECF 216. With his answer to the South Goa

complaint, the case – and Mr. Kholkar Vishveshwar Ganpat’s claims there - now is at issue in

South Goa.

         B. The Proceedings in this Court

         Although plaintiff initially filed his Complaint [ECF 1] in this Court on December 12,

2018, it was not until August 10, 2021 [ECF 196] that this Court held that plaintiff by personal

service on Eastern Pacific in Singapore, properly served Eastern Pacific with process. Id.

Plaintiff, in the first part of 2020 and, after this Court held that plaintiff’s 2019 attempt to serve

the captain of a separate vessel managed by Eastern Pacific was improper, then chose to serve

process by Letter Rogatory. Plaintiff apparently did not decide until mid-2021 to use personal

service in Singapore, which this Court has held to be proper service. Consequently, plaintiff’s

own decisions about how to serve process delayed the proceedings in this Court for over two

years.

         Mr. Kholkar Vishveshwar Ganpat’s Complaints in this Court, presently subject to Eastern

Pacific’s motions to dismiss (and not at issue in this Court), allege facts and causes of action

which have no connection with the United States, involve no witnesses who reside in the United

States, and involve many, including plaintiff himself, who live in India. His First Supplemental




                                                  -6-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 7 of 12




Complaint attempts to collaterally attack the South Goa Court’s orders, contending that Eastern

Pacific and Eastern Pacific India – citing no supporting India law - have “no standing” to bring

their claims against Plaintiff in India in the Commercial Court Margoa, South Goa. See

Plaintiff’s First Supplemental Complaint, [ECF 212] at ¶¶28, 29. Standing, however, has never

been raised by or to the South Goa Court; the Court’s decision above makes clear that Eastern

Pacific and Eastern Pacific India, as a matter of law recognized by the South Goa Court, have

standing before the South Goa Court.

       Mr. Kholkar Vishveshwar Ganpat then further tries to collaterally attack the South Goa

Court’s orders, that on May 14, 2020 Eastern Pacific and Eastern Pacific India engaged (still

without supporting India law) in “willful, wanton and intentional misconduct” to the India Court

in “a deliberate effort to intimidate Mr. Kholkar from seeking legal redress”. ECF 212, ¶¶ 37-38

(emphasis supplied). The South Goa Court, however, on December 9, 2020 ordered (ECF 204-

6) the plaintiff to immediately discontinue proceedings in this Court; Mr. Kholkar Vishveshwar

Ganpat was in contempt of the South Goa Court’s orders – the contempt cured, at least in part,

when he appeared before the Court with Mr. Arsekar.

       Consequently, in addition to the fact that the United States has nothing to do with his

claims, Mr. Kholkar Vishveshwar Ganpat wrongly tries to add claims further and directly

connected to India, having this Court (stating no authority) engage in a collateral attack on the

South Goa Court’s orders. All of the witnesses involved related to the proposed First

Supplemental Complaint, including the South Goa judges and lawyers, are located in South Goa,

where plaintiff lives. Krishnamurthy Aff., ¶14. The South Goa Court has made proper rulings,

not appealed by Mr. Kholkar Vishveshwar Ganpat. Id.

       Unfortunately, despite being personally resident within the South Goa Courts’




                                                -7-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 8 of 12




jurisdiction and subject to the South Goa Courts’ orders, Mr. Kholkar Vishveshwar Ganpat chose

to be on contempt of those orders and the South Goa Court responded. It was always open for

him to enter appearance in the proceedings before the South Goa Courts under protest and

challenge the temporary anti-suit injunction order passed in the South Goa Suit. Should Mr.

Kholkar Vishveshwar Ganpat wish to raise a claim that the South Goa Courts or any party or

counsel before them have wrongly decided matters or otherwise proceeded inappropriately, he

upon proper allegation and proof also has opportunity for redress under India law either before

the South Goa Courts or on appeal. Id. at ¶14.

       Despite these unsupported allegations to the contrary in his motion for a permanent

injunction, Eastern Pacific India and Eastern Pacific at no point of time asked the Indian Court to

send Mr. Kholkar Vishveshwar Ganpat to jail and “brazenly false statements have been made in

the US Proceedings that the lawyers appearing on behalf of EPS India and Eastern Pacific at the

hearing on 12th March 2021 purportedly made a statement in open court stating “send him to jail

right now.”” Id. at ¶19.

       As a matter of Indian law, the mere fact that a party appoints a lawyer in Indian

proceedings does not automatically mean that the party has submitted to the jurisdiction of the

Indian Court, and it is always open for a party to enter appearance in Indian proceedings under

protest and file an application challenging the jurisdiction of the Indian Court. Mr. Kholkar

Vishveshwar Ganpat – represented by Mr. Arsekar – nevertheless has not done that and has – as

has Eastern Pacific and Eastern Pacific India – submitted without reservation to the South Goa

Court’s jurisdiction. Notably, he makes no claim to the South Goa Court, that the South Goa

Court is an inconvenient forum for him.

       Eastern Pacific further incorporates the Krishnamurthy Aff. in this Response. The fact




                                                 -8-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 9 of 12




is that Mr. Kholkar Vishveshwar Ganpat, represented by Mr. Arsekar, is now proceeding on the

merits before the South Goa Court. He is not subject to imprisonment. He has all rights under

India law, including, of recovery as India law expressly permits him, on evidentiary proof (which

again, he has put at issue in the South Goa Court), to have.

                              This Court Should Deny the Motion

       Mr. Kholkar Vishveshwar Ganpat cannot show and has not shown with his motion or

otherwise – for this Court to grant a permanent injunction – proof that he will succeed on the

merits, or proof of the three remaining factors that must be proved to obtain a preliminary

injunction. See Amoco Production Co. v. Village of Gambell, Alaska, 480 U.S. 531, 546 n. 12

(1987), namely (1) a substantial threat of irreparable harm if the injunction is not granted; (2)

that the threatened injury outweighs any potential harm to the non-movant; and (3) that the

injunction will not undermine the public interest. Karaha Bodas Co., LLC v. Perusahaan

Pertambangan Minyak Dan Gas Bumi Negara, 335 F.3d 357, 363 (5th Cir. 2003).5

       Injunctive relief is considered an extraordinary remedy, to be granted only when the

movant has “clearly carried the burden of persuasion” on all four requirements. Karaha Bodas

Co., 335 F.3d at 363; Commercializadora Portimex, S.A. de CV v. Zen-Noh Grain Corp., 373 F.

Supp. 2d 645, 648–49 (E.D. La. 2005). When foreign court proceedings are involved, there is

the further caution that Federal District Courts are to use the power to enjoin foreign court

proceedings “sparingly.” Philp v. Macri, 261 F.2d 945, 947 (9th Cir. 1958). “The issue is not

one of jurisdiction, but one ... of comity.” Canadian Filters Ltd. v. Lear Siegler, Inc., 412 F.2d
       5
               “We have cautioned, however, that a preliminary injunction is “an extraordinary
remedy” which should only be granted if the party seeking the injunction has “clearly carried the
burden of persuasion” on all four requirements.” As a result, “[t]he decision to grant a
preliminary injunction is to be treated as the exception rather than the rule.” Karaha Bodas Co,
335 F.3d 357, 363–64 (quoting Mississippi Power & Light Co. v. United Gas Pipe Line Co., 760
F.2d 618, 621 (5th Cir.1985)).


                                                -9-
     Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 10 of 12




577, 578 (1st Cir. 1969). see also Chase Manhattan Bank v. State of Iran, 484 F. Supp. 832, 836

(S.D.N.Y. 1980).

       The South Goa proceedings (1) do not frustrate any policy of this Court, (2) are not

vexatious or oppressive; (3) do not threaten the issuing court’s in rem or quasi in rem

jurisdiction; or (4) and do not prejudice other equitable considerations. In re Unterweser

Reederei Gmbh, 428 F.2d 888 (5th Cir. 1970), aff'd on rehearing en banc, 446 F.2d 907 (1971),

rev'd on other grounds sub nom. Bremen v. Zapata Off-Shore Co., 407 U.S. 1 (1972). They do

not work any inequitable hardship on Mr. Kholkar Vishveshwar Ganpat. They do not frustrate

“the speedy and efficient determination of the cause.’ ” Id. at 896, quoting In re Unterweser

Reederei, Gmbh, 296 F.Supp. 733, 735-36 (M.D.Fla.1969); in fact, again, Mr. Kholkar

Vishveshwar Ganpat’s claims are at issue in the South Goa Court.

       Mr. Kholkar Vishveshwar Ganpat presents no evidence supporting his motion for

permanent injunction. Fed. R. Civ. P. 65(a)(2) (requiring evidence to be presented to support

issue of an injunction.); see also Mungia v. Judson Indep. Sch. Dist., No. CIV.A SA-09-CV-395-

X, 2009 WL 3431397, at *2 (W.D. Tex. October 19, 2009) (allegations of injuries not supported

by evidence fail to clearly establish irreparable harm). Plaintiff has submitted no documents or

testimony supporting its contention that there were no anti-malarials aboard the M/V

STARGATE or that the anti-malarials aboard were inadequate. He attaches no documents or

testimony to support his contention.

       Indeed, the evidence in the record in this case is to the contrary. Namely, that there were

adequate anti-malarials aboard and that Mr. Kholkar Vishveshwar Ganpat was given anti-

malarials, as evidenced by his own signature on the log. ECF 213-4 at pp. 63, 67, 76-77, 213-5

at p. 1-2 , ECF 213-4, p. 76-77. Specifically the Stargate Medical Report, dated 8/1/2019,




                                              - 10 -
    Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 11 of 12




prepared by Dr. Charlie Easmon opines that the M/V STARGATE “had adequate malaria

prevention medication” and that “in terms of treatment for malaria the ship had the appropriate

amounts as advised by the quoted international guidelines for a crew of 22 as the next increased

recommendation is for a crew of 30.” ECF 213-4, pg. 63; see also Medication List, ECF 213-4,

67-77, and medication administration log, ECF 213-5, pg. 1-4.

       Mr. Kholkar Vishveshwar Ganpat provides evidentiary support for the allegations

contained in his motion, which Eastern Pacific disputes. Krishnamurthy Aff.       He presents no

evidence showing that the South Goa litigation is “vexatious or oppressive” or will “cause

prejudice or offend other equitable principles.” Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 627,

n. 9 (5th Cir. 1996), citing In re Unterweser Reederei, Gmbh, 428 F.2d 888, 890 (5th Cir. 1970),

on reh'g en banc sub nom. In the Matter of the Complaint of Unterweser Reederei, GmbH, 446

F.2d 907 (5th Cir. 1971), vacated sub nom. M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1

(1972).6

       Mr. Kholkar Vishveshwar Ganpat has failed to “clearly carry” his burden of persuasion,

which Fed. R. Civ. P. 65 unequivocally requires him to do, with evidence. This Court now

should deny his motion.

Dated: October 7, 2021.
                                      Respectfully Submitted,

/s/ J. Stephen Simms                              MICHAEL H. BAGOT, JR., T.A. (#2665)
J. Stephen Simms                                  WAGNER, BAGOT & RAYER, LLP
Simms Showers LLP                                 Pan American Life Center – Suite 1660
201 International Circle, Suite 230               601 Poydras Street


6
        In a telephone conference between counsel for Mr. Kholkar Visheveshwar Ganpat, Mr.
Arsekar, and counsel for Eastern Pacific and Eastern Pacific India, on or about September 20,
2021, Mr. Arsekar advised Eastern Pacific’s counsel that despite Judge Sarika Fal Dessai
informing the parties that she is happy to recuse herself so that the case would be heard by an
alternative judge, Mr. Kholkar Vishveshwar Ganpat has no objection to Judge Sarika Fal Dessai
adjudicating the Indian lawsuit.


                                              - 11 -
    Case 2:18-cv-13556-SM-KWR Document 218 Filed 10/07/21 Page 12 of 12




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                                        - 12 -
